Case 1:21-cr-00048-LY Document 178 Filed 03/02/21 Page 1 of 6

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

<

KARL BECK (1)

    
    
  

U2 LP UN UP UP LP UP OP OP LN OD OP? D2 OP OM MP OW OM UP OOM MMMM MO MOM MM UP MM LN MP

CRAIG NEELY (4)
BOBBY HALE (5)
MICHAEL PETERSON (6)
ELIAS LOZA, JR. (7)
REGINALD THOMAS (8)

AMY ROGERS (13)

 

VICTORIA MANNING (16)

      

\o

ADRIANNE SPENCE (1

JOSHUA CHERRY (21)
JOSHUA BAILEY (22)

oe ey

LEONARD CANTRELL (25)

=a

)

    

HALLIE SHAW (29)

RITA ISLAS (31)

CAUSE NO.

A21cR O48Ly
Case 1:21-cr-00048-LY Document178 Filed 03/02/21 Page 2 of 6

MADISON MITCHELL (32) §
HILDA GUTIERREZ-BENITEZ (33) §

Defendants.
Case 1:21-cr-00048-LY Document178 Filed 03/02/21 Page 3 of 6

THE GRAND JURY CHARGES:

COUNT ONE
Conspiracy to Possess with Intent to Distribute and Distribution
of a Controlled Substance, Methamphetamine
(Violation of 21 U.S.C. § 846)

La Beginning on or about August I, 2019, and continuing through March 2, 2021, in the

Western District of Texas and elsewhere, KARL BECK, PT
ES es ES 0:
NEELY, BOBBY HALE, MICHAEL PETERSON, ELIAS LOZA, JR., REGINALD
THOMAS, SS SS SS SS
Sy ES AY ROGERS, ES SB
VICTORIA MANNING, Se, ADRIANNE
SPENCE, #3 EE. JOSHUA CHERRY, JOSHUA BAILEY,
SS © 0N RD CANTREL
SS SS SS 80 Sw
SE RITA ISLAS, MADISON MITCHELL, and HILDA

GUTIERREZ-BENITEZ, defendants, did intentionally and knowingly combine, conspire,
confederate, and agree together and with each other, and with other persons known and unknown
to the Grand Jury, to possess with intent to distribute and distribute methamphetamine, a

Schedule IT controlled substance.

QUANTITY OF METHAMPHETAMINE INVOLVED IN COUNT ONE OF THE
CONSPIRACY

2. With respect to KARL BECK, Ss
EY: 8111481 PETERSON,

Indictment — Page 3
Case 1:21-cr-00048-LY Document178 Filed 03/02/21 Page 4 of 6

ELIAS LOZA, JR., BOBBY HALE, CRAIG NEELY, and REGINALD THOMAS, their
conduct as members of the narcotics conspiracy charged in Count One, which includes the
reasonably foreseeable conduct of other members of the narcotics conspiracy charged in Count
One, involved 500 grams or more of a mixture and substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance.

In violation of 21 U.S.C. § 846, the penalty for which is found at 21 U.S.C. §

841(b)(1)(A).

3. With respect es
ES 8 Cees, a
SE NV CTORTA MANNING,
ADRIANNE SPENCE, f | a. JOSHUA CHERRY, JOSHUA BAILEY,
SS GS GS «0842 CANTRELL
2180 sca,
Sy GS. 811A ISLAS, MADISON MITCHELL, and HILDA

GUTIERREZ-BENITEZ, their conduct as members of the narcotics conspiracy charged in
Count One, which includes the reasonably foreseeable conduct of other members of the narcotics
conspiracy charged in Count One, involved 50 grams or more of a mixture and substance
containing a detectable amount of methamphetamine, a Schedule I] controlled substance.
In violation of 21 U.S.C. § 846, the penalty for which is found at 21 U.S.C. §
841(b)(1)(B).
COUNT TWO
Money Laundering

(Violation of 18 U.S.C. § 1956)

4, Beginning on or about August 1, 2019, and continuing through March 2, 2021, in the

Western District of Texas and elsewhere, KARL BECK, f | ssi

Indictment - Page 4
Case 1:21-cr-00048-LY Document178 Filed 03/02/21 Page 5 of 6

eS C2:
NEELY, BOBBY HALE, SS

MADISON MITCHELL, and RITA ISLAS, defendants, and others known and unknown to
the Grand Jury, did unlawfully, knowingly and intentionally combine, conspire, confederate and
agree together, and with others known and unknown to the Grand Jury, to commit certain
offenses under 18 U.S.C. §1956, as follows:

a) to conduct and attempt to conduct financial transactions affecting interstate and
foreign commerce that involved property which was the proceeds of specified unlawful activity,
to wit, unlawful possession with intent to distribute a controlled substance, methampethamine,
with the intent to promote the carrying on of said specified unlawful activity in violation of 18
U.S.C. § 1956(a)(1)(A)(i); and

b) to conduct and attempt to conduct financial transactions affecting interstate and
foreign commerce that involved property which was the proceeds of specified unlawful activity,
to wit, unlawful possession with intent to distribute a controlled substance, methampethamine,
with the intent to conceal or disguise the nature, the location, the source, the ownership, or the
control of the proceeds of said specified unlawful activity in violation of 18 U.S.C. §
1956(a)(1)(BXi).

In violation of 18 U.S.C. § 1956(h), the penalty for which is found at 18 U.S.C. §

1956(a)(1).

Indictment — Page 5
Case 1:21-cr-00048-LY Document178 Filed 03/02/21 Page 6 of 6

ASHLEY C. HOFF
UNJFED STATES ATTORNEY

 

 

Assistant United States Attorney

Indictment — Page 6

ae
A TRUE BILL awe <0
SA wr
< WW QUEL AS
o QNDE B®
FOSa Coe
¢2
